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WESTERN DISTRICT OF TENNESSEE 05 JUN 13 AH H: 32
WESTERN DIVISION

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MICHAEL JAY DULIN, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

GEORGE H. BROWN, JR., et al., CASE NO: 04-2809-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Courl;. The lssues have been
considered and a decision has been rendered

IT IS SO ()RDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on June 9, 2005, this cause is hereby dismissed.

 

OVED:
@ANIEL BREEN
RT
U TED S'I`ATES DISTRICT COU ROBERT R. m .|.RUUO
b 1 05
Da e Clerk of Court

      

( y) D uty Clerk

Tl.is document entered on the docket sheet ivom l‘ nce
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02809 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Michael lay Dulin
95 Estate Drive
Eads, TN 38028

Honorable J. Breen
US DISTRICT COURT

